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                             DECLARATION OF AMY L. FESTANTE

                  I, Amy L. Festante, hereby certify as follows:

                   1.     I am an associate of the firm of Kelley Drye & Warren LLP, which is

 located at 101 Park Avenue, New York, New York 10178.

                  2.      1 have been admitted to practice before the following courts on the date

indicated:

                  ADMITTED                                                      DATE

State of New York                                                               01/12/09

State of New Jersey                                                             11/18/08

                  3.      I am an attorney in good standing and eligible to practice in the above-

referenced jurisdictions.

                  4.     I have not been suspended or disbarred in any jurisdiction, and no

disciplinary actions are pending against me.

                  5.     A certificate of good standing for the New York Appellate Division, First

Department, and a certificate of admission to practice in the Court of Appeals, State of New

York are attached hereto.

                  6.     I am familiar with the Local Rules of the United States District Court for

the District of Massachusetts and agree to abide by them.

                  I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

foregoing is true and correct.




Executed on March 26, 2010.

                                                By:




NY01/FESTA/1406976.1
